                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                        BIG STONE GAP DIVISION


 MELINDA SCOTT,                                  )
                                                 )
                   Plaintiff,                    )      Case No. 2:18CV00012
                                                 )
 v.                                              )             OPINION
                                                 )
 VIRGINIA DEPARTMENT OF                          )      By: James P. Jones
 MEDICAL ASSISTANCE SERVICES,                    )      United States District Judge
                                                 )
                   Defendant.                    )

      Melinda Scott, Pro Se Plaintiff; Jennifer L. Gobble, Assistant Attorney
 General, Office of the Attorney General of Virginia, Richmond, Virginia, for
 Defendant.

       The plaintiff in this civil action pursuant to 42 U.S.C. § 1983, Melinda Scott,

 proceeding pro se, asserts a claim against the Virginia Department of Medical

 Assistance Services (“DMAS”) based on alleged violations of her First

 Amendment rights. Scott alleges that a DMAS policy prohibiting a parent from

 serving as a child’s in-home caregiver discriminates against the religious practices

 of her family, attempts to restrict the free exercise of her religion, and establishes

 religious standards for the state. DMAS has moved to dismiss Scott’s action for

 lack of subject-matter jurisdiction, contending that the state’s Eleventh

 Amendment sovereign immunity bars Scott’s suit and that Scott lacks standing to

 bring her suit, and for failure to state a claim upon which relief can be granted. For




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 the reasons that follow, I conclude that the Eleventh Amendment bars Scott’s suit

 against DMAS, and therefore I will grant the motion.

                                         I.

       The following facts are undisputed for the purposes of the present motion.

       DMAS is the Virginia agency that administers the state’s Medicaid program,

 which provides medical coverage to eligible Virginia residents in need of

 healthcare assistance.   Title XIX of the Social Security Act, known as the

 “Medicaid Act,” requires states to promulgate a medical assistance plan (the “State

 Plan”) setting forth state regulations governing the state’s Medicaid program. 42

 U.S.C. § 1396a. In administering the State Plan, DMAS is authorized to issue

 rules, regulations, and policies on program matters. 42 C.F.R. § 431.10(e); Va.

 Code Ann. § 32.1-325(A).

       In April 2016, Scott’s minor son was enrolled in a Virginia Medicaid

 program known as the Elderly or Disabled with Consumer Direction Waiver

 (“EDCD Waiver”). The EDCD Waiver allows recipients to hire persons to provide

 in-home personal care services paid for by Medicaid. Scott’s son receives in-home

 services through a provision of the program that allows a family member to hire

 the caregiver.

       In February 2018, Scott attempted to enroll her spouse, who is her son’s

 stepfather, as her son’s in-home caregiver under the EDCD Waiver.           Scott’s


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 service facilitator notified her that, pursuant to DMAS policy, her son’s stepfather

 could not be paid as an attendant caregiver.1 Scott then wrote to DMAS requesting

 an exception to this policy. In her letter, Scott asserted that no other attendant can

 meet her son’s needs because her religious beliefs dictate that only a male relative

 can help bathe her son, and she had only had females apply to be her son’s

 attendant. Scott also asserted that her religious beliefs require that parents be the

 primary caretakers of their children, and it is against her religious beliefs for males

 who are not her husband, father, or brother to be in the house alone with her.

 DMAS denied Scott’s request, maintaining that Scott could not enroll her son’s

 stepfather as an attendant.

       Scott then filed the present action, alleging that DMAS’s policy prohibiting

 a parent from serving as a child’s in-home attendant, as applied to her, violates the

 First Amendment. Scott asserts that the policy discriminates against her family’s

       1
           This policy states,

              A personal care attendant cannot be the parent (biological, step
       parent, adoptive, legal guardian) of the minor child or spouse of the
       individual receiving waiver services. Payment may be made for services
       rendered by other family members or caregivers living under the same roof
       as the individual receiving waiver services only when there is written,
       objective documentation as to why no other attendant is able to provide
       services for the individual.

 DMAS, Elderly or Disabled with Consumer Direction Waiver Services Provider Manual
 ch. II, at 32 (2017), https://www.virginiamedicaid.dmas.virginia.gov/wps/portal/Provider
 Manual (follow “Available Manuals” hyperlink).

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 religious practices and attempts to restrict the free exercise of her religion. DMAS

 has filed a Motion to Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(1),

 contending that the court lacks subject-matter jurisdiction because the suit is barred

 by the Eleventh Amendment and because Scott lacks standing to bring her suit, and

 pursuant to Rule 12(b)(6), arguing that Scott’s Complaint fails to state a claim

 against DMAS. The Motion to Dismiss has been fully briefed and is now ripe for

 decision.2

                                           II.

       The Eleventh Amendment provides that “[t]he Judicial power of the United

 States shall not be construed to extend to any suit in law or equity, commenced or

 prosecuted against one of the United States by Citizens of another State, or by

 Citizens or Subjects of any Foreign State.” U.S. Const. amend. XI. Although the

 Eleventh Amendment does not by its terms bar suits against a state by its own

 citizens, the Supreme Court “has consistently held that an unconsenting State is

 immune from suits brought in federal courts by her own citizens.” Edelman v.

 Jordan, 415 U.S. 651, 662–63 (1974).

       In Ex Parte Young, the Supreme Court carved out an exception to a state’s

 Eleventh Amendment immunity. 209 U.S. 123, 167 (1908). Under this exception,


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           I will dispense with oral argument because the facts and legal contentions are
 adequately presented in the materials before the court and argument would not
 significantly aid the decisional process.
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 suits may be brought against state officers to enjoin them from enforcing

 unconstitutional acts.   Id.   However, this exception is narrow — it “has no

 application in suits against the States and their agencies, which are barred

 regardless of the relief sought.” P.R. Aqueduct & Sewer Auth. v. Metcalf & Eddy,

 Inc., 506 U.S. 139, 146 (1993); see also S.C. State Ports Auth. v. Fed. Mar.

 Comm’n, 243 F.3d 165, 177 (4th Cir. 2001) (finding that the Ex Parte Young

 exception was irrelevant to the case because the plaintiff brought suit against the

 state agency itself).

       Given a state’s “unique dignitary interest in avoiding suit,” the court should

 address Eleventh Amendment immunity questions as soon as possible after a state

 asserts its immunity. Constantine v. Rectors & Visitors of George Mason Univ.,

 411 F.3d 474, 482 (4th Cir. 2005). When a state’s motion to dismiss asserts that

 the Eleventh Amendment bars the case and, if not, the case should be dismissed

 pursuant to Rule 12(b)(6), the court should first determine whether the Eleventh

 Amendment bars the case. Id. at 483.

       In its Motion to Dismiss, DMAS argues that, among other things, the

 Eleventh Amendment precludes Scott’s suit because DMAS is an agency of the

 state, and thus it is entitled to the state’s immunity.    Scott counters that the

 Eleventh Amendment does not bar her suit because she is seeking injunctive relief

 rather than monetary damages or a monetary award.


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       I find that the Eleventh Amendment bars Scott’s suit. Scott brought her suit

 against DMAS itself, rather than the appropriate state official charged with the

 specific duty of enforcing the contested DMAS policy. Thus, the Ex Parte Young

 exception does not apply, and her suit is barred regardless of the relief sought. See

 P.R. Aqueduct & Sewer Auth., 506 U.S. at 146. Accordingly, I will grant DMAS’s

 Motion to Dismiss. A separate Order will be entered forthwith.

                                                DATED: October 19, 2018

                                                /s/ James P. Jones
                                                United States District Judge




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